       Case: 1:17-cv-01325 Document #: 39 Filed: 12/19/17 Page 1 of 1 PageID #:273
           Case: 17-2486    Document: 16         Filed: 12/19/2017    Pages: 1



     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


Everett McKinley Dirksen United States Courthouse                     Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                           Phone: (312) 435-5850
             Chicago, Illinois 60604                                 www.ca7.uscourts.gov




                                                           ORDER
 December 19, 2017

By the Court:
                                         LINDA SCULLY, et al.,
                                         Plaintiffs - Appellants

 No. 17-2486                             v.

                                         NATHAN GOLDENSON, et al.,
                                         Defendants - Appellees

 Originating Case Information:

 District Court No: 1:17-cv-01325
 Northern District of Illinois, Eastern Division
 District Judge Charles P. Kocoras


     Upon consideration of the MOTION TO FILE APPELLATE COURT FEES IN
INSTALLMENTS AND FOR EXTENSION OF TIME TO PAY, filed on
December 13, 2017, by the pro se appellants,

       IT IS ORDERED that the appellants' request to pay the appellate filing fees in
installments is DENIED. The request for an extension of time to pay the fees is
GRANTED. The appellants shall pay the appellate filing fees of $505 in full to the clerk
of the district court by January 18, 2018. Failure to pay the fees in full by the due date
may result in the dismissal of the appeal pursuant to Circuit Rule 3(b).




 form name: c7_Order_BTC(form ID: 178)
